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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                     :
ELLEN BARTELS AND FREDERICK L.                       :
BARTELS, JR., Individually and as                    :
Administrators of the Estate of Abrielle Kira        : C.A. NO.:
Bartels, Deceased,                                   : 1:16-cv-02145-JEJ
                                       Plaintiffs,   :
                        vs.                          : (Jones III, J.)
                                                     :
THE MILTON HERSHEY SCHOOL,                           :
                                                     :
and                                                  :
                                                     :
THE HERSHEY TRUST COMPANY, AS                        :
TRUSTEE OF THE MILTON HERSHEY                        :
SCHOOL TRUST,                                        :
                         Defendants.                 :
                                                     :

                   JOINT STIPULATED SCHEDULING ORDER

       It is hereby ORDERED that the following Stipulation shall govern the

remaining case management deadlines in the above-captioned proceeding. The

said Stipulation is APPROVED, to the extent that the following pre-trial and trial

schedule shall apply to this case.

       1.     Trial List. The above-captioned case is hereby placed on the May

2020 trial list.

       2.     Dispositive Motions. All motions for summary judgment shall be

accompanied by supporting briefs and shall be filed by November 8, 2019. The

following schedule shall apply to responses and replies regarding motions for
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summary judgment: (1) responses in opposition shall be filed by December 8,

2019; and (2) replies in further support shall be filed by December 22, 2019.

      3.     Expert Discovery.       All expert discovery shall be completed by

February 21, 2020.

      4.     Pre-Trial Conference. The final pre-trial conference will be held in

Harrisburg, Pennsylvania on April 1, 2020 at a time to be announced.

      5.     Juries. Juries will be drawn on May 4, 2020, at 9:30 A.M. for those

cases on the list which are to be tried by a jury.

      6.     Motions in Limine. Written motions in limine should be submitted to

the Court, with briefs in support, no later than twenty-one (21) calendar days prior

to the final pre-trial conference. Responses shall be submitted within fourteen (14)

calendar days of the date that the relevant motion in limine is filed.

      All other instructions and guidelines set forth in the Court’s April 30, 2019,

designated Order #1 (Doc. 248), and designated Order #2 (Doc. 249), shall remain

in full force and effect except as modified herein.

                          [signature line on following page]




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APPROVED AS TO FORM AND ENTRY:

/s/ Gregory F. Cirillo            /s/ Jarad W. Handelman
Gregory F. Cirillo, Esquire       Jarad W. Handelman, Esquire
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Counsel for Plaintiffs            Counsel for Defendants

Dated: September 9, 2019


       SO ORDERED this ____ day of September, 2019.



                                            _____________________________
                                            John E. Jones, III, District Judge
                                            United States District Court
                                            Middle District of Pennsylvania




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                        CERTIFICATE OF SERVICE
      I, Jarad W. Handelman, Esquire, hereby certify that I caused the foregoing to

be served via ECF upon all counsel of record, including:

                           Gregory F. Cirillo, Esquire
                             John J. Higson, Esquire
                            John W. Schmehl, Esquire
                              Dilworth Paxson LLP
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                             Philadelphia, PA 19102

                              Counsel for Plaintiffs


                                            /s/ Jarad W. Handelman
                                            Jarad W. Handelman
Dated: September 9, 2019
